Case 1:22-cr-00019-PGG Document 97 Filed 10/12/22 Page 1of1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
-against- ORDER
ALBERT HAFT, (S1) 22 Cr. 19 (PGG)

Defendant.

 

 

PAUL G. GARDEPHE, U.S.D.J.:
As stated in open court today, the Defendant is released on bail under the
following conditions:

(1) a $100,000 personal recognizance bond, co-signed by two financially
responsible persons;

(2) surrender of all travel documents and no new applications;

(3) travel restricted to the Southern and Eastern Districts of New York, the
Southern District of Florida, and the District of New Jersey; and

(4) all other standard conditions of release.
The Defendant may be released on his own signature.

Dated: New York, New York
October 12, 2022
SO ORDERED.

{>

i A
Ke
( fAd. ad Ye LAL and J 4 {
Paul G. be ee °
United States District dec
